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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF GEORGIA
                           ATHENS DIVISION

MARK MACK                                *
    PLAINTIFF                            *
                                         *
                                         *
v.                                       *            CIVIL ACTION
                                         *            FILE No.
                                         *
WATSON TRUCKING, INC.                    *
    DEFENDANT                            *


                          COMPLAINT FOR DAMAGES

      COMES NOW, MARK MACK, Plaintiff in the above-styled civil action, and

files this, his Complaint for Damages against Watson Trucking, Inc., Defendant

named herein. Plaintiff shows this Honorable Court the following:



                                 INTRODUCTION

                                           1.
      This is a civil rights action for money damages and equitable and declaratory

relief brought pursuant to the Civil Rights Act of 1866, 42 U.S.C. § 1981 and Title

VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq. Plaintiff has initiated

this action to redress violations by Watson Trucking, Inc. (Defendant) of the above

referenced statutes. As a direct consequence of Defendant’s unlawful actions,

Plaintiff seeks damages as set forth herein.




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                           VENUE AND JURISDICTION

                                            2.
      This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331

and 1343 (a)(4) and 28 U.S.C. §§ 2201 and 2202 because it arises under the laws of

the United States and seeks redress for violations of federal laws.



                                            3.
      This Court may assert personal jurisdiction over Defendant because its

contacts with this State and this judicial district are sufficient for the exercise of

jurisdiction over Defendant to comply with traditional notions of fair play and

substantial justice, satisfying the standard set forth by the United States Supreme

Court in Int’l Shoe Co. v. Washington, 326 U.S. 310 (1945), and its progeny.



                                            4.
      Venue is proper in the United States District Court for the Middle District of

Georgia, Athens Division, pursuant to 18 U.S.C. § 1391 (b), because this is where “a

substantial part of the events or omissions giving rise to this case occurred.”



                                            5.
      Pursuant to 28 U.S.C. §1392(b)(1) and (b)(2), venue is properly laid in this

district because Defendant is deemed to reside where it is subject to personal

jurisdiction, rendering Defendant a resident of the Middle District of Georgia.




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                                       PARTIES

                                            6.
        Plaintiff Mark Mack is an adult and legal resident and citizen of the United

States and of the State of Georgia, residing at 160-B Sycamore Lane, Athens, GA

30605



                                            7.
        Defendant is a domestic corporation operating as a dump truck and grading

company. Defendant’s principal place of business is located at 150 Maxey Blvd.,

Athens, GA, 30607. Defendant may be served by delivering process to its registered

agent Jody Watson at 150 Maxey Blvd., Athens, GA, 30607.



                        ADMINISTRATIVE PROCEEDINGS

                                            8.
        Plaintiff is proceeding in part under Title VII after properly exhausting all

administrative remedies with respect to such claims by timely filing a Charge of

Discrimination with the Equal Employment Opportunity Commission (EEOC) on

October 8, 2019. This was within 180 days of the occurrence of the acts of which he

now complains.




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                                             9.
       On or about June 9, 2021, the EEOC issued Plaintiff a Notice of Dismissal

and of Your Right to Sue Letter. This civil action is being filed within 90 days of

Plaintiff’s receipt of this Letter.



                                      FACTUAL BASIS

                                            10.
       Plaintiff is an African American who was hired by Defendant on February 1,

2019. Plaintiff was a hardworking, well qualified employee who performed his job

in a professional manner. Plaintiff worked as a truck driver for Defendant until

October 7, 2019, approximately 9 months. On September 23, 2019, Plaintiff was

attacked by a co-worker named Mr. John Morton. Mr. Morton repeatedly punched

Plaintiff in the face while calling him a “Ni###r”. Plaintiff did not instigate or

provoke the attack, but Plaintiff did defend himself from Mr. Morton’s unprovoked

attack. A fellow co-worker named “Corey” broke up the altercation. Plaintiff found

the racial slurs and conduct to be offensive and racially derogatory. The physical

attack and the use of the racial slur was immediately brought to the attention of

Ms. Lynette Watson (wife of the owner). Plaintiff also informed the owner of

Watson Trucking, Inc., Jody Watson, that he had been attacked by Mr. Morton and

that Mr. Morton had repeatedly called Plaintiff the N-word.




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                                         11.
      Plaintiff sought intervention and help from Mr. Jody Watson. Mr. Jody

Watson brought both men into his office on September 24, 2019. Mr. Jody Watson

told both men that they were wrong and sent them both out of his office back to

work. Plaintiff stressed that he had been attacked without provocation and he also

showed Mr. Jody Watson his injuries. Plaintiff became extremely uncomfortable

going back to work. From this point on, Mr. Morton would show up at Plaintiff’s

various work sites and watch him in a menacing way, which made Plaintiff feel

extremely uncomfortable and unsafe. Plaintiff made Mr. Jody Watson aware of the

fact that Mr. Morton was making him feel uncomfortable by following him. Plaintiff

informed Mr. Jody Watson that he was upset because no appropriate actions were

being taken to address Mr. Morton’s conduct.



                                         12.
      Plaintiff visited St. Mary’s Hospital on September 25, 2019, due to the

injuries he sustained in the attack. Please see attached photograph (Plaintiff’s

Exhibit #1) and medical records and bills from St. Mary’s Hospital (Plaintiff’s

Exhibit #2 and #3).



                                         11.

      Plaintiff maintains that on October 3, 2019, he was informed by Mr. Neal Cox

(supervisor), that he would need to work on Saturday, October 5, 2019. Plaintiff

maintains that he had already informed Mr. Cox that Plaintiff would not be able to


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attend work on Saturday, October 5, 2019, because he was responsible for taking

his mother to dialysis on that day. Plaintiff did not attend work on Saturday,

October 5, 2019.



                                          13.
       Defendant terminated Plaintiff on October 7, 2019, which was just fourteen

(14) days after Mr. Morton’s attack upon him.



                                          14.
       Furthermore, during Plaintiff’s time of employment with Defendant, unlike

white drivers, Plaintiff was forced to operate a truck that was in a state of disrepair

and had no air conditioning during summer months. Plaintiff made multiple

requests to have his truck repaired but Defendant refused to do so. Plaintiff had to

resort to purchasing his own fan and placing it in the truck in an attempt to have

some ventilation. Defendant would repair the trucks of Plaintiff’s white

counterparts but would not repair Plaintiff’s truck, despite multiple requests from

Plaintiff.




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                                      COUNT I

                Violations of Title VII of the Civil Rights Act of 1964
Race Discrimination, Retaliation, Hostile Work Environment, Disparate Treatment

                                          15.
    Plaintiff re-alleges and incorporates herein all preceding paragraphs of this
                                     Complaint.



                                          16.
      Defendant asserts Plaintiff was actually fired for missing work on Saturday,

October 5, 2019, which Defendant refers to as a so-called ‘mandatory workday’ (See

Plaintiff’s Exhibit #3). When Plaintiff returned to work on Monday, October 7,

2019, Mr. Cox presented Plaintiff with a Watson Trucking, Inc.-Employee Warning

Notice, which laid out the Defendant’s written policy pertaining to violations of

work rules or company policies. The Defendant’s written policy indicates that

Plaintiff would be under a 30-day probation period for missing the ‘mandatory

workday.’ The policy also states that, during the 30-day period, if Plaintiff violated

this work rule or any other work rule or company policy, his employment with

Watson Trucking, Inc. could be terminated. (See Plaintiff’s Exhibit #4)



                                          17.
      However, as a result of missing the ‘mandatory workday’, Plaintiff was not

placed under a 30-day probation status. Plaintiff was instead abruptly and

immediately terminated (See Plaintiff’s Exhibit #5). Defendant has no evidence

whatsoever that Plaintiff had ever missed one of the ‘mandatory workdays’ in the


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past. Defendant has no evidence that absences had ever been a problem for

Plaintiff in the past. Defendant has no evidence whatsoever Plaintiff violated this

work rule or any other work rule or company policy, which would have warranted

Plaintiff’s immediate termination from the job.



                                           18.
         Defendant cannot provide a properly supported reason other than race

discrimination which explains why Defendant violated its own written policy and

terminated Plaintiff for missing a single workday. Defendant can provide no

evidence of a legitimate, non-discriminatory, and non-pretextual explanation as to

why Plaintiff was not afforded a 30-day probation period but was instead abruptly

fired.

                                           19.

         Plaintiff believes and avers that he was retaliated against and terminated

from his employment with Defendant because of his race and because he

complained to his superiors about race discrimination.



                                           20.
         Plaintiff believes and avers that he was forced to operate a truck that was in

a state of disrepair due to Defendant’s racially discriminatory behavior and

practices, which constitutes disparate treatment.




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                                          21.
      Plaintiff believes and avers that Defendant failed to take appropriate action

against Mr. Morton, which emboldened Mr. Morton and subjected Plaintiff to

further racial harassment.



                                          22.
      Plaintiff believes and avers that Defendant’s failure to prevent Mr. Morton’s

racial attack coupled with Defendant’s failure to properly address Mr. Morton’s

conduct and his subsequent behavior further created and contributed to a racially

hostile work environment, which forced Plaintiff to endure severe, harsh and

pervasive racial harassment as a term and condition of his employment with

Defendant.



                                          23.
      Defendant’s aforesaid actions by and through its owner(s), employees,

representatives and management personnel, constitute unlawful race

discrimination, retaliation, hostile work environment, racial harassment and

disparate treatment, all of which violate Title VII.



                                          24.
      As a direct and proximate result of Defendant’s violation of Title VII, Plaintiff

has been damaged and is entitled to the relief set forth in his prayer for relief.




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                                     COUNT II

         Violations of the Civil Rights Act of 1866, 42 U.S.C. Section 1981
Race Discrimination, Retaliation, Hostile Work Environment, Disparate Treatment

                                         25.
    Plaintiff re-alleges and incorporates herein all preceding paragraphs of this
                                     Complaint.



                                         26.
      Mr. Morton’s use of a racial slur while punching Plaintiff in the face, and

Defendant’s deliberate failure to appropriately address the conduct, constitute the

very definition of a threatening, harassing and racially hostile work environment.

This attack physically injured Plaintiff, leaving him with bruises and contusions.

Plaintiff worked for Defendant for fourteen (14) additional days after Mr. Morton’s

attack upon him. During this time, Mr. Morton would follow Plaintiff and show up

at his worksites and stare at him in a menacing way, which understandably made

Plaintiff very uncomfortable and concerned for his safety. Plaintiff made Defendant

aware of Mr. Morton’s menacing conduct and the fact that it made him

uncomfortable. Again, Defendant took no action.



                                         27.
       Mr. Morton was treated more favorably than Plaintiff. Mr. Morton violated

Georgia law by committing a simple assault upon Plaintiff, while at work.

Defendant was made aware that Mr. Morton had punched and beaten Plaintiff




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while calling him the N-word. Defendant merely ‘reprimanded’ Mr. Morton and

allowed him to keep his job and Plaintiff was ultimately fired.



                                         28.
      Defendant knowingly allowed Mr. Morton to commit racial harassment

against Plaintiff. Plaintiff informed Defendant that Mr. Morton’s attack upon him

coupled with Defendant’s inaction constituted a racially hostile work environment

that made him uncomfortable.



                                         29.
      Plaintiff believes and therefore avers that he was subjected to a racially

hostile work environment. Mr. Morton’s racially motivated attack upon him and

Defendant’s deliberate failure to appropriately address the conduct certainly rises

to the level of a threatening and hostile work environment.



                                         30.
      Plaintiff believes and therefore avers that firing Plaintiff for missing a

‘mandatory workday’ was merely a pretext for race discrimination and retaliation

against him because he complained about discriminatory practices by the

Defendant and its employees, representatives, and management personnel.




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                                             31.
          Plaintiff believes and therefore avers it was the responsibility of Defendant to

maintain a workplace that was free of physical attacks, racial attacks, racial

intimidation, disparate treatment, retaliation and racial harassment.



                                             32.
          Plaintiff believes and avers that he was forced to operate a truck that was in

a state of disrepair due to Defendant’s racially discriminatory behavior and

practices, which constitutes disparate treatment.



                                             33.
          Defendant’s aforesaid actions by and through its owner(s), employees,

representatives and management personnel, constitute unlawful race

discrimination, retaliation, hostile work environment, racial harassment and

disparate treatment, all of which violate Section 1981.



                                             34.
          As a direct and proximate result of Defendant’s violation of 42 U.S.C. §1981,

Plaintiff has been damaged and is entitled to the relief set forth in his prayer for

relief.




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      WHEREFORE, the Plaintiff prays for the following:

(A)      That Plaintiff obtain a judgment for damages against the Defendants in a

         sufficient amount to compensate Plaintiff for back pay, front pay, salary,

         pay increases, bonuses, insurance benefits, promotions and interest due

         and payable;

(B)      That Plaintiff obtain a judgment for damages against the Defendants in a

         sufficient amount to compensate Plaintiff for emotional pain and suffering

         he has endured as a result of Defendant’s discriminatory, retaliatory, and

         tortious acts.

(C)      That Plaintiff be awarded punitive damages, as permitted by law, in an

         amount sufficient to punish Defendant for its willful, deliberate and

         outrageous conduct and to deter Defendant from discriminating against

         any other employees in the future;

(D)      That Plaintiff be awarded his costs incurred in bringing this action,

         including his attorney’s fees and expenses of litigation;

(E)      That Plaintiff be granted declaratory relief;

(F)      That Plaintiff be granted injunctive relief, which orders Defendant to

         promulgate and adhere to policies which prevent Defendant from

         engaging in such discriminatory conduct in the future;

(G)      That Plaintiff be awarded prejudgment interest;

(H)      That this matter be heard by a jury of his peers;

(I)      That Plaintiff be awarded such other and further relief as this Honorable
         Court may deem just and proper.

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Respectfully submitted this 3rd day of September, 2021.


                                          PALMORE, BOENIG & ASSOCIATES


                                          /s/ Malcolm Palmore
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